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      In The United States Court of Federal Claims
                                          No. 00-512L

                                    (Filed: February 20, 2009)
                                           __________
 PETRO-HUNT, L.L.C.,

                       Plaintiff,

        v.

 THE UNITED STATES,

                       Defendant.
                                           _________

                                           ORDER
                                          __________

        Oral argument on defendant’s motion to dismiss will be held in this case on Thursday,
April 9, 2009, at 2:00 p.m. (EST) at the United States Court of Federal Claims, National Courts
Building, 717 Madison Place, N.W., Washington, D.C. 20005. The courtroom location will be
posted in the lobby on the day of the oral argument.

       IT IS SO ORDERED.


                                                           s/ Francis M. Allegra
                                                           Francis M. Allegra
                                                           Judge
